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                            UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS

                                  MIDLAND DIVISION


Contiquc Willcot

vs.                                                Case No.: 7:24-cv-00317-DC-RCG
U.S. Securities and Exchange Commission, et
al.



                                              ORDER


        BE IT REMEMBERED on this day. there was presented to the Court the Motion for
                                  Eric Aaron Reichcr
Admission Pro Hac Vice filed by                                                      , counsel for

U.S. Securities and Exchange Commission           , and the Court, having reviewed the motion, enters

the following order:

        IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and


                                       may appear on behalf of       Securities and Exchange
 Eric Aaron Reicher


 in the above case.


        IT IS FURTHER ORDERED that Eric Aaron Reicher                                      , if he/she


has not already done so. shall immediately tender the amount of SIOO.OO, made payable to: Clerk, U.S.

District Court, in compliance with Local Court Rule AT-1(0(2).

        SIGNED this the              day of February                           .20




                                                   UNITED STATES DISTRICT JUDGE
